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KENJIM.PRICE #10523
United States Attorney
District of Elawail                                DISTRICT OF HAWAII
                                                    MAY 1 7 2018
KENNETH M. SORENSON #
Chief, Criminal Division                     at I o'clock and     min.^ M
                                                  SUE BEITIA. CLERK

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Attorneys for Plaintiff
UNITED STATES OF AMERICA


                 IN THE UNITED STATES DISTRICT COURT


                          FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA, )MAG.NO. 18-00486 KSC
                          )
              Plaintiff,  )CRIMINAL COMPLAINT
                          )AFFIDAVIT
         vs.              )
                          )
SIEGFRED SIERRA,          )
                          )
              Defendant.  )
                          )

                            CRIMINAL COMPLAINT


      I, the undersigned complainant, being duly swom, state the following is tme
and correct to the best of my knowledge and belief.

                                     COUNT 1


      Beginning on a date unknown and continuing through at least on or about

May 15-16, 2018,in the District of Hawaii, and elsewhere, SIEGFRED SIERRA,

the defendant, and C.C., knowingly and intentionally combined, conspired,

confederated and agreed together and with each other, and with other persons

known and unknown,to distribute and possess within intent to distribute 50 grams

or more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule

II controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(A).

      All in violation of Title 21, United States Code, Section 846.

      I further state that I am a DEA Special Agent and that this Complaint is

based upon the facts set forth in the attached "Affidavit in Support of Criminal

Complaint", which is attached hereto and incorporated herein by reference.

                                         r
                                       TIMOTHY ft.K(jUYEN
                                       Drug Enforcement Administration

Sworn to under oath before me
telephonically, and attestation
acknowledged pursuant to Fed. R.
Crim. P.4.1(b)(2), this
16th day of May,2018.

KEVIN^^^HAN<j
United States Magistrate Judge
          AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      TIMOTHY H. NGUYEN,being duly sworn, deposes and states as follows:

      1. I am a Special Agent with the U.S. Drug Enforcement Administration

("DEA")and am currently assigned to the DEA Enforcement Group in Honolulu,

HI.


      2. On May 15,2018, a DEA Confidential Source(CSl), under the

supervision ofDEA Special Agents, purchased three ounces of methamphetamine

from an individual for $1,500.00 in serialized govemment funds. The individual's

supplier was also present during the purchase. The transaction took place inside

the supplier's vehicle.

      3. Shortly after the transaction, the individual and his supplier were arrested.

During the search incident to arrest, approximately fourteen(14)ounces of

methamphetamine and one(1).40 caliber Glock brand pistol was found in the

supplier's vehicle and seized. After the arrest, the supplier became a cooperating

defendant(GDI).

      4. GDI identified the source-of-supply for the 14 ounces of

methamphetamine as a person named SIEGFRED SIERRA, who is based in Las

Vegas, Nevada. Specifically, GDI explained that SIERRA has beep sending GDI

parcels containing approximately one-pound quantities of methamphetamine. GDI

stated that SIERRA has mailed GDI five(5)parcels in total.
      5. CDl also showed DEA personnel a text message that CDl had received

from number(702)358-9428, which CDl said belongs to SIERRA. The text

message was sent on May 15, 2018 at 2:39 p.m. In the text message, SIERRA

included a picture of a USPS receipt for a parcel, bearing tracking number

9405510200881740830333, which was sent via USPS Priority Flat Rate on May

15, 2018. CDl said that this parcel was currently en route to Hawaii from Las

Vegas, and contained approximately one pound of methamphetamine.

      6. In the presence ofDEA personnel, CDl then placed a recorded telephone

call to SIERRA. SIERRA told CDl that two additional parcels of

methamphetamine would be sent on May 15,2018 and May 16, 2018,respectively.

      7. During the arrest of CDl,DEA recovered from CDl's wallet a document

with hand-written bank account information and SIERRA's address. CDl stated

that SIERRA directed CDl to send money to this bank account, and he did so, in

exchange for the methamphetamine provided by SIERRA. The bank information

written on the document was for American First Credit Union, account number

32996514, routing number 324377516, and address P.O. Box 9199 Ogden, UT

84409. The name "Siegfred Sierra" and an address 7013 Edwin Aldrin Circle, Las

Vegas, NV 89145 were also written on the document.

      8. An electronic copy of SIERRA's Driver License was later obtained, and

showed SIERRA's address is 7013 Edwin Aldrin Circle Las Vegas, NV 89145.
CDl positively identified Siegfred Sierra from this Driver License photograph.

      9. Based on the foregoing, this Affiant believes that Siegfred Sierra is

actively involved in the shipment of one(1)ponnd parcels containing

methamphetamine from Las Vegas, NY,to Honolulu, HI,for distribution in

Hawaii. Accordingly, there is probable cause to believe that Siegfred Sierra has

conspired to distribute and possess with intent to distribute methamphetamine

within the district of Hawaii and elsewhere in violation of 21 U.S.C. § 846 and

841(b)(1)(A).

      10. For the same reason, there is probable cause to believe that Siegfred

Sierra has distributed methamphetamine within the District of Hawaii and

elsewhere in violation of21 U.S.C. § 841(a)(1) and (b)(1)(A).
      11. Methamphetamine is a Schedule II controlled substance.


      FURTHER AFFIANT SAYETH NAUGHT.


      DATED: Honolulu, Hawaii, May 16, 2018.




                                     TIMOTHY if NGUYEN
                                     Drug Enforcement Administration

This Criminal Complaint and Affidavit in support thereof were presented to,
approved by, and probable cause to believe that the defendant above-named
commit|^the charged crime found to exist by the undersigned Judicial Officer at
                on May 16, 2018.

Sworn to under oath befo.
me telephonically, a:
acknowledged pur;
Fed. R. Crim. FAI
this 16^^ day of M^ y^


KEVIN S.C. CHAN^ " ■
United States Magistrate Judge
